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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF NEVADA

                                  ***
                                   )
UNITED STATES OF AMERICA,          )                       3:13-CR-00118-LRH-WGC
                                   )
                  Plaintiff,       )
v.                                 )                       MINUTE ORDER
                                   )
SURJIT SINGH and JASWINDER SINGH, )
                                   )                       September 12, 2015
                  Defendants.      )
                                   )

PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:           NONE APPEARING               REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                      NONE APPEARING
COUNSEL FOR DEFENDANT(S):                      NONE APPEARING
MINUTE ORDER IN CHAMBERS:

        Before the court is Defendants’ Motion for Return of Passports (#53)1. No response has been
filed by the government. The court having reviewed the request, and good cause appearing,

      IT IS HEREBY ORDERED that defendants’ passports shall be return to them upon
completion of their respective prison sentences.

       IT IS SO ORDERED.
                                                     LANCE S. WILSON, CLERK

                                                     By:             /s/
                                                                  Deputy Clerk




       1
           Refers to court’s docket number.
